            Case 3:20-cv-00917-HZ          Document 75               Filed 07/06/20   Page 1 of 10




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                                 UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                          PORTLAND DIVISION


    DON'T SHOOT PORTLAND, a nonprofit                         3:20-cv-00917-HZ
    corporation, in its individual capacity,
    NICHOLAS J. ROBERTS, in an individual
    capacity and on behalf of themselves and all              DECLARATION OF MARK DUARTE
    others similarly situated, MICHELLE
    "MISHA" BELDEN, in an individual capacity                 (In Support of Defendant City of Portland's
    and on behalf of themselves and all others                Response to Motion for Temporary
    similarly situated, ALEXANDRA JOHNSON,                    Restraining Order and Preliminary
    in an individual capacity and on behalf of                Injunction)
    themselves and all others similarly situated,

                    PLAINTIFFS,

            V.



    CITY OF PORTLAND, a municipal
    corporation, and MULTNOMAH COUNTY, a
    political subdivision of the State,

                    DEFENDANTS.



    I, Mark Duarte, declare as follows:



Page 1 - DECLARATION OF MARK DUARTE

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           Case 3:20-cv-00917-HZ           Document 75          Filed 07/06/20   Page 2 of 10




            1. I am a City of Portland police officer. I was hired by the Portland Police Bureau

    ("PPB") on April 3, 2014. My primary assignment is as patrol officer in Central Precinct,

    assigned to the Entertainment Detail. The Entertainment Detail primarily responds to calls for

    police service in the downtown area from bars, taverns and clubs. These calls involve noise

    disturbances, fights, public intoxication, and other forms of disorderly conduct. My work on the

    Entertainment Detail can involve aspects of crowd management and control.

            2. Since 2017 I have worked on a detached, specialty assignment with PPB's Rapid

    Response Team ("RRT"). RRT has an application and selection process, RRT is PPB's primary

    specialty group that performs crowd management and crowd control services. Since 2019 my

    role on RRT has been as a grenadier. As a member ofRRT I have received at least 30 to 40

    hours of annual In-Service training.

            3. As a RRT grenadier, I have been trained in the use of less lethal weapons such as

    a 40 mm launcher and the FN303. The 40mm launcher is a shotgun-like platform that allows a

    variety of Riot Control Agents ("RCAs") to be fired from it. These RCAs can include impact

    munitions, such as foam tipped impact rounds, marking rounds that contain paint, or Oleoresin

    Capsicum ("OC") rounds that contain OC powder that disperse on impact. In addition, the

    40mm launcher can be used to launch other RCAs such as smoke (obscurant), 2-

    chlorobenzalmalononitrile "CS" gas and Oleoresin Capsicum Pyrotechnic ("OC pyrotechnic").

    The FN303 is a rifle-like platform that allows small, plastic balls to be fired from it. These balls

    can contain an active ingredient of 0.5% OC in a powder form and washable paint for marking

    suspects .

            4. In addition to launchable RCAs, grenadiers also carry hand-tossed munitions

    including canisters of CS gas, OC pyrotechnic, or OC vapor. Grenadiers may also carry rubber

    ball distraction devices ("RBDDs"). RBDD payloads can vary, and some do not have any

    payloads at all, and are called inert RBDDs. An inert RBDD delivers only a blast of light and

    sound. A "live" RBDD delivers a blast of light and sound, but also contains small rubber balls


Page 2 - DECLARATION OF MARK DUARTE


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           Case 3:20-cv-00917-HZ          Document 75          Filed 07/06/20   Page 3 of 10




    (approximately .81 cm each) that are dispersed outward in an explosion. An "OC" RBDD

    delivers a blast of light and sound, but also projects a cloud ofOC in outward in an explosion.

    The rubber ball dispersion during the explosion of a "live" RBDD or an "OC" RBDD radiates

    horizontally approximately 50 feet.

            5. On Saturday, May 30, 2020 and Sunday, May 3 1, 2020,1 was assigned as a

    grenadier to RRT's Alpha Squad. My shift began at 1700 hours on May 30 and ended

    approximately 0400 hours on May 31. At some point during my shift, at approximately 2000

    hours, I was working in the area of the Multnomah County Justice Center on SW 3 Ave/SW

    Main St and SW 6 Ave/SW Yamhill St. I recall RRT giving commands over its sound truck

    for people to disperse and leave the area. Multiple persons were throwing objects at me and

    other members of Alpha Squad. I saw rocks, concrete, metal construction material and glass

    bottles being thrown at me and the other RRT members. I was struck in the shoulder with a full

    can of beer. I was hit in the leg with a rock. I saw multiple subjects dressed mostly in dark

    clothing and wearing masks throw various projectiles at Alpha Squad, including the CS gas

    canisters RRT was deploying. I hand tossed 1 to 3 canisters of OC chemical agents from 15 to

    30 feet to assist in dispersing the crowd. I deployed these hand held munitions in the middle of

    the intersection to encourage the crowd to stop its hostile behavior and leave. My deployment of

    these hand tossed RCAs was effective. I then disengaged with the crowd and moved back to my

    squad to reassess the situation.

           6. On this same shift on Saturday, May 30, 2020 and Sunday, May 31, 2020, at some

    point I was working in the area of the Multnomah County Justice Center on SW 3rd Ave/SW

    Main St. Persons in the crowd had constructed barriers in the street. I saw multiple persons

    advance towards Alpha Squad and throw projectiles at us. I deployed multiple FN303 marking

    rounds at 3 to 5 subjects, all of who were actively picking up things, including RCA canisters,

    and throwing them at Alpha Squad. I estimate that I deployed 24 FN303 marking rounds total at

    these 3 to 5 subjects. I deployed 2 to 6 rounds at each aggressor until they stopped throwing


Page 3 - DECLARATION OF MARK DUARTE

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           Case 3:20-cv-00917-HZ         Document 75           Filed 07/06/20   Page 4 of 10




    things at us and moved away. I was aiming at the lower legs and thigh area of each subject and

    this was my intended point of impact for the marking round. However, it was difficult to see the

    point of impact of each FN303 marking round because of distance, the small size of round, the

    lighting and I was wearing my gas mask. In addition, some persons in the crowd were shining

    bright lights into my face and other members of Alpha Squad, and other crowd members were

    acting as "human shields" to provide cover for other crowd members throwing objects at me and

    Alpha Squad. In any event, I noticed that many of the FN303 rounds were not effective due to

    the distance of the subject target and these subjects were wearing make-shift body armor or using

    shields to deflect the rounds.

           7. On this same shift on Saturday, May 30, 2020 and Sunday, May 31, 2020, at some

    point I was working in the area of the Multnomah County Justice Center on SW 3 Ave/SW

    Main St. I saw multiple subjects dressed in dark clothing and wearing masks throw projectiles at

    me and the other members of Alpha Squad. Some of those projectiles included gas canisters that

    RRT was deploying. I deployed approximately 3 to 5 RBDDS to disperse these people throwing

    projectiles at us. I hand tossed the RBDDs a distance of 25 to 50 feet in the middle of the

    intersection of the street away from the crowd, to cover a large area and encourage the crowd to

    stop its hostile behavior and leave. The deployment of the RBDDs was effective.

            8. On this same shift on Saturday, May 30, 2020 and Sunday, May 31 , 2020, at some

    point I was working in the area of SW 6th Ave/SW Yamhill St. The RRT sound truck had given

    several dispersal announcements and force warnings. At one point an identified male walked

    into the street and towards Alpha Squad. He was ordered to get out of the street. The male

    began running towards the Alpha Squad van. Another officer hand tossed an OC canister at the

    male, who tried to pick it up and throw it at us. I deployed 2 FN303 marking rounds to prevent

    the male from picking up and throwing the OC canister. The male was approximately 20 to 30

    feet away when I deployed the marking rounds. I aimed for the male's belt line and that was my

    intended point of impact for the marking rounds.


Page 4 - DECLARATION OF MARK DUARTE

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             Case 3:20-cv-00917-HZ       Document 75           Filed 07/06/20   Page 5 of 10




             9. On Tuesday, June 2, 2020 and Wednesday, June 3, 2020 I was assigned to Alpha

    Squad. ~My shift began at 1700 hours on June 2 and ended approximately 0400 hours on June 3.

    At approximately 2300 hours I was working in the area of Pioneer Courthouse Square. The

    Incident Commander directed RRT to disperse the crowd out of the Square. I deployed a single

    OC canister towards the middle of the square and away from the crowd to prevent people from

    accessing it and using it as projectile against us. I had seen persons run towards the OC

    canisters to disable them with traffic cones, water and/or pick up the canister to throw back at

    RRT.

             10. On this same shift on Tuesday, June 2, 2020 and Wednesday, June 3, 2020, I saw

    multiple subjects throw projectiles at RRT, which included the gas canisters RRT members were

    deploying. I deployed a total of 3 CS chemical agents (in combination with OC), to disperse

    these subjects. This was necessary to encourage the crowd to stop their hostile behavior and to

    leave.


             11. On this same shift on Tuesday, June 2, 2020 and Wednesday, June 3, 2020, I was

    working in the area of SW 5th Avenue and SW Salmon Street. A crowd of people advanced

    towards me and Alpha Squad. Persons in the crowd were throwing projectiles at us and

    challenging us with makeshift barricades. I deployed a single canister ofCS gas towards the

    middle of the street to disperse the advancing crowd.

             12. On this same shift on Tuesday, June 2, 2020 and Wednesday, June 3, 2020, I saw

    multiple subjects advancing towards the police and throwing projectiles at me and Alpha Squad.

    Persons in the crowd had constructed barriers or a "shield wall" with umbrellas as they were

    throwing projectiles at me and Alpha Squad. I deployed approximately 30 FN303 marking

    rounds at 5 to 6 people who were picking up and throwing projectiles at us. I deployed

    approximately 2 to 6 rounds at each aggressor until they stopped. I then dis-engaged and re-

    assessed for each subject and each deployment. I noticed the FN303 rounds were often not

    effective due to the distance and/or the subjects were wearing armor or using improvised shields


Page 5 - DECLARATION OF MARK DUARTE

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           Case 3:20-cv-00917-HZ         Document 75           Filed 07/06/20   Page 6 of 10




    make by protest signs, umbrellas or skateboards. I was aiming for the belt line of each subject.

    However, it was difficult to see the point of impact due to the distance, the small size of the

    FN303 round, the ambient lighting, having my gas mask on, and the smoke and RCA canisters

    being deployed. Some people were shining bright lights into our faces and acted as human

    shields to cover the subjects throwing projectiles at me and Alpha Squad.

             13. On this same shift on Tuesday, June 2, 2020 and Wednesday, June 3, 2020, I saw

    a subject throw a projectile and lit a mortar at Alpha Squad. I deployed at volley of FN303

    rounds at this person until he stopped and ran away into the crowd. I also saw two unidentified

    subjects working together to light and throw incendiary devices at Alpha Squad. I saw the red

    glare of the devices, which appeared to be some sort of flare. One subject lit the flare; the other

    subject threw it. The flare landed behind our police line. I deployed a volley ofFN303 at each

    of these individuals and they ran further into the crowd. I disengaged and re-assessed after firing

    at each of the subjects.

             14. On Saturday, June 6, 2020 and Sunday, June 7, 2020 my shift began at 1700

    hours on June 6 and ended approximately at 0400 hours on June 7. At approximately 2345 hours

    I was working in the area of SW 4th Ave/SW Salmon Street when Alpha Squad confronted a

    crowd. Some of the people in the crowd were throwing water bottles, bricks, rocks, smoke

    bombs, and containers, presumably filled with biohazardous and toxic substances. I deployed

    approximately two RBDDs to disperse the crowd. I deployed the RBDDs in the middle of the

    intersection, away from the crowd, to cover a large area to encourage the crowd to stop their

    hostile behavior to RRT and to leave. On this same shift, on June 6, 2020 at approximately

    2345 hours, I deployed approximately 6 to 8 FN303 marking rounds at a subject who was

    throwing projectiles at the police. At approximately the same time, I deployed a single FN303

    OC round at another subject was who was advancing at the police and providing cover for a

    subject throwing projectiles at us. I deployed 5 FN303 OC rounds at the person throwing

    project! les.


Page 6 - DECLARATION OF MARK DUARTE

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          Case 3:20-cv-00917-HZ         Document 75            Filed 07/06/20   Page 7 of 10




            15. On Sunday, June 7, 2020 and Monday, June 8, 2020 my shift began at 1700 hours

    on June 7 and ended at approximately 0400 hours on June 8. At approximately 2330 hours on

    June 7 I was working with Alpha Squad near the Justice Center at SW 3 Avenue and SW Main

    St. Dispersal announcements and force warnings had been given. RRT was directed to push the

    crowd away west on SW Main St. away from the Justice Center. The crowd was actively

    throwing projectiles and barricading themselves while remaining in the street. The crowd moved

    away from impact munitions deployed by another RRT squad, but remained in the area

    challenging the line of officers and refusing to move despite the sound truck asking people to

    move and officers ordering them to move. I saw some persons in the crowd using traffic cones,

    umbrellas and other objects to barricade and remain in the street. People in the crowd were

    throwing water bottles, rocks, containers filled with presumed biohazardous and toxic

    substances. I saw a handful of unidentified subjects dressed in all dark clothing and face masks

    throw projectiles at police officers, including throwing some of the RRT munitions RRT

    members were deploying. I deployed a single RBDD to disperse the crowd at SW 3 and Main.

    The crowd was in the middle of the street. I deployed the RBDD in the middle of the

    intersection away from the crowd to cover a large area to encourage the crowd to stop their

    hostile behavior and leave, The deployment of the RBDD at SW 3rd and Main St. was effective.

    On the same date and in the area of SW 5th Ave/SW Main St. dispersal orders and force warnings

    continued. A person wearing a green baseball cap and dark clothes threw a projectile with

    glowing embers at officers. This person continued to pick up and throw the projectile at officers.

    I deployed a single FN303 OC round at his right leg. I disengaged after the person stopped

    throwing projectiles.

            16. On Wednesday, June 10, 2020 and Thursday, June 11, 2020 my shift began at

    1700 hours on June 10 and ended approximately at 0400 hours on June 11. On June 10 at

    approximately 2330 hours I was deployed with Alpha Squad near the Federal Courthouse. A

    male was attempted to dismantle the fence along SW Main by the Justice Center. I aimed my


Page 7 - DECLARATION OF MARK DUARTE


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          Case 3:20-cv-00917-HZ          Document 75           Filed 07/06/20   Page 8 of 10




    FN303 at a large pillar of the Federal Courthouse that was approximately 6 to 10 feet away from

    the male trying to dismantle the fence. I launched FN303 OC rounds at the pillar at a slow rate

    and reassessed after each round to see if it was stopping the subject from dismantling the fence.

    At first the male ignored the rounds and continued dismantling the fence. Eventually, after I shot

    approximately 18 rounds at the pillar, the male stopped trying to dismantle the fence and

    retreated into the crowd.

            17. On Saturday, June 13, 2020 and Sunday, June 14, 2020 my shift began at 1700

    hours on June 13 and ended at approximately 0400 hours on June 14. At some point during my

    shift I was deployed with Alpha Squad at SW 3rd and SW Couch Street. A crowd had taken

    fencing from area businesses and was using the fencing to block the street. Persons in the crowd

    were throwing mortars and other projectiles at the police. It is difficult to remember but I believe

    I deployed a single RBDD towards the intersection to disperse the crowd and stop the

    projectiles.. I deployed 2 RBDD at a group throwing projectiles at police on SW 3rd Ave/SW

    Main St. On this same shift, in the area of SW Main and SW 3rd Avenue, I saw an unidentified

    subject wearing black clothing throw projectiles at the police. This person was part of a smaller

    group of people advancing towards the police and throwing projectiles at us. I aimed for this

    person's lower legs and shot approximately 4 to 6 FN303 rounds at the person. He retreated into

    the crowd. On the same shift, in the area of SW 4th Avenue and SW Taylor, I saw another

    unidentified male wearing all dark clothing throwing projectiles at the police. I aimed for this

    person's lower legs and shot approximately 4 to 6 FN303 rounds at his low legs until he stopped

    throwing projectiles at us and retreated into the crowd.

            18. On Saturday, June 13, 2020 at approximately 2300 hours I was deployed with

    Alpha Squad at SW 6' Avenue and SW Oak Street. A group of approximately 200 people had

    been ordered to disperse. Some individuals advanced towards the police. Some of the crowd

    were shining strobe lights in our faces. I saw two persons throw projectiles at the police. I saw a

    full Gatorade bottle hit Sgt. Pool. I deployed a single RBDD in the street several feet away from


Page 8 - DECLARATION OF MARK DUARTE

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          Case 3:20-cv-00917-HZ         Document 75               Filed 07/06/20   Page 9 of 10




    the crowd to stop its advance and stop the projectiles. This same group of approximately 200

    people was at NW 5th Avenue and SW Oak Street. The group appeared highly coordinated and

    intent on disregarding dispersal orders. I saw persons in the group were throwing projectiles at

    us and at Alpha squad member was hit by a projectile. A male on a bike was shining a green

    laser light in officers' faces. I deployed a single RBDD in the street and several feet away from

    the crowd to disperse the crowd and stop the projectiles.

           19. On Saturday June 13, 2020 and Sunday, June 14, 2020 I used the FN 303 on

    multiple occasions throughout my shift. These situations involved multiple hostile persons

    throwing projectiles at the police and shining bright strobe lights and green lasers at my eyes. My

    vision became blurred momentarily and I was unable to see. This use of force is reflected on my

    Force Data Collection Report in detail,

           20. On Monday, June 15, 2020 and Tuesday, June 16, 2020 my shift began at 1700

    hours on June 15 and ended at approximately 0400 hours on June 16. On June 15 at

    approximately 2315 hours I was deployed with Alpha Squad in the area of SW Salmon St/SW 5l

    Ave. I saw a large, agitated group of people in the street advancing towards police vans. I

    deployed a single RBDD into the middle of the street to stop the group's advance. On the same

    shift I saw a white male wearing an orange helmet advance towards RRT's Delta Squad and

    throw a projectile at the police. I shot two FN303 OC rounds at the male, but the rounds missed

    him. I shot the rounds to stop the male's advance and to stop him from throwing prqjectiles.

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Page 9 - DECLARATION OF MARK DUARTE

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         Case 3:20-cv-00917-HZ        Document 75          Filed 07/06/20   Page 10 of 10




           21. I make this declaration in support of Defendant City of Portland's Response to

    Motion for Temporary Restraining Order and Preliminary Injunction.


           I hereby declare that the above statement is true to the best of my knowledge and

    belief, and that I understand it is made for use as evidence in court and is subject to penalty

    for perjury.

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           DATED:


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Page 10 - DECLARATION OF MARK DUARTE

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